Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 1 of 23 Page ID #:2402



  1   JINGNI (JENNY) ZHAO (#284684)
      ANOOP PRASAD (#250681)
  2   KEVIN CHUN HOI LO (#278908)
      MELANIE CHUN-YU KIM (#292588)
  3   WINIFRED KAO (#241473)
      ASIAN AMERICANS ADVANCING JUSTICE –
  4   ASIAN LAW CAUCUS
      55 Columbus Avenue
  5   San Francisco, California 94111
      Telephone: (415) 896-1701
  6   Fax: (415) 896-1702
      Email: jennyz@advancingjustice-alc.org
  7
      Additional Counsel Listed On Next Page
  8
      Attorneys for Petitioners
  9
                                  UNITED STATES DISTRICT COURT
10
                                CENTRAL DISTRICT OF CALIFORNIA
11
      NAK KIM CHHOEUN, MONY                            Case No. 8:17-cv-01898-CJC (GJSx)
12    NETH, individually and on behalf of              Assigned to: Hon. Cormac J. Carney
      a class of similarly-situated
13    individuals,                                     PETITIONERS’ NOTICE OF
                                                       MOTION AND MOTION FOR
14                     Petitioners,                    ORDER CERTIFYING CLASS

15                v.                                   Date: August 13, 2018
                                                       Time: 1:30 p.m.
16    DAVID MARIN, Field Office                        Place: 411 W. Fourth St.
      Director, Los Angeles Field Office,                     Santa Ana, CA, 92701
17    United States Immigration and                           Courtroom 9B, 9th Floor
      Customs Enforcement; DAVID W.
18    JENNINGS, Field Office Director,                 [Filed concurrently with Supporting
      San Francisco Field Office, United               Declarations of Nak Kim Chhoeun,
19    States Immigration and Customs                   Mony Neth, Jingni Zhao, Laboni Hoq,
      Enforcement; THOMAS D.                           Lee Gelernt, and Michael Mallow; and
20    HOMAN, Acting Director, United                   [Proposed] Order]
      States Immigration and Customs
21    Enforcement; KIRSTJEN M.
      NIELSEN, Secretary, United States
22    Department of Homeland Security;
      JEFFERSON B. SESSIONS III,
23    United States Attorney General;
      SANDRA HUTCHENS, Sheriff of
24    Orange County; and SCOTT R.
      JONES, Sheriff of Sacramento
25    County,

26                     Respondents.

27
28
                                PETITIONERS’ MOTION FOR CLASS CERTIFICATION

      232751507
Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 2 of 23 Page ID #:2403



  1   LABONI HOQ (SBN 224140)
      NICOLE GON OCHI (SBN 268678)
  2   CHRISTOPHER LAPINIG (SBN 802525)
      ASIAN AMERICANS ADVANCING JUSTICE – LOS ANGELES
  3   1145 Wilshire Blvd., 2nd Floor
      Los Angeles, CA 90017
  4   Telephone: (213) 977-7500
      Fax: (213) 977-7595
  5   Email: lhoq@advancingjustice-la.org
      Email: nochi@advancingjustice-la.org
  6   Email: clapinig@advancingjustice-la.org

  7   SEAN A. COMMONS (SBN 217603)
      SIDLEY AUSTIN LLP
  8   555 W. Fifth Street, Suite 4000
      Los Angeles, CA 90013
  9   Telephone: (213) 896-6000
      Fax: (213) 896-6600
10    Email: scommons@sidley.com

11    MICHAEL L. MALLOW (SBN 188745)
      DARLENE CHO (SBN 251167)
12    KATELYN ROWE (SBN 318386)
      SIDLEY AUSTIN LLP
13    1999 Avenue of the Stars, 17th Floor
      Los Angeles, CA 90067
14    Telephone: (310) 595-9500
      Fax: (310) 595-9501
15    Email: mmallow@sidley.com
      Email: dcho@sidley.com
16    Email: krowe@sidley.com

17    NAOMI IGRA (SBN 269095)
      ANGELA C. MAKABALI (SBN 296824)
18    SIDLEY AUSTIN LLP
      555 California Street, Ste. 2000
19    San Francisco, CA 94104
      Telephone: (415) 772-1200
20    Fax: (415) 772-7400
      Email: naomi.igra@sidley.com
21    Email: amakabali@sidley.com

22    LEE GELERNT (NY Bar NY-8511)
      JUDY RABINOVITZ (NY Bar JR-1214)
23    ANAND BALAKRISHNAN (Conn. Bar 430329)
      ACLU FOUNDATION IMMIGRANTS’ RIGHTS PROJECT
24    125 Broad Street, 18th Floor
      New York, NY 10004
25    (212) 549-2616
      Email: lgelernt@aclu.org
26
27
28                                            ii
                          PETITIONERS’ MOTION FOR CLASS CERTIFICATION

      232751507
Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 3 of 23 Page ID #:2404



  1                                                 TABLE OF CONTENTS
  2   I.          INTRODUCTION ............................................................................................... 1
  3   II.         BACKGROUND ................................................................................................. 1
  4   III.        PETITIONERS SATISFY THE STANDARDS FOR CLASS
                  CERTIFICATION UNDER FED. R. CIV. P 23(a) AND 23(b)(2) .................... 3
  5
  6               A.      The Requirements of Rule 23(a) Are Satisfied. ........................................ 4

  7                       1.       The Class is So Numerous that Joinder is Impracticable. .............. 4

  8                       2.       Class Members Share Common Questions of Law and Fact. ........ 5
  9                       3.       The Named Representatives’ Claims Are Typical of the
                                   Class. ............................................................................................... 9
10
                          4.       The Class Representatives Will Fairly and Adequately
11                                 Represent The Interests of the Class............................................. 10
12                B.      Respondents’ Uniform Conduct Justifies Classwide Injunctive
13                        and Declaratory Relief Under Rule 23(b)(2). ......................................... 12
14                C.      This Court Should Appoint Class Counsel Pursuant To Rule
                          23(g). ....................................................................................................... 14
15
      IV.         CONCLUSION ................................................................................................. 15
16
17
18
19
20
21
22
23
24
25
26
27
28                                                                     iii
                                        PETITIONERS’ MOTION FOR CLASS CERTIFICATION

      232751507
Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 4 of 23 Page ID #:2405



  1                                             TABLE OF AUTHORITIES
  2                                                                                                                            Page(s)
  3
      Cases
  4
      Abadia-Peixoto v. U.S. Dep’t of Homeland Sec.,
  5     277 F.R.D. 572 (N.D. Cal. 2011) ............................................................................ 14
  6
      Abdullah v. U.S. Sec. Assocs., Inc.,
  7     731 F.3d 952 (9th Cir. 2013) ................................................................................. 5, 8
  8   Bateman v. Am. Multi-Cinema, Inc.,
  9      623 F.3d 708 (9th Cir. 2010) ..................................................................................... 3

10    Bates v. United Parcel Service,
         204 F.R.D. 440 (N.D. Cal. 2001) .............................................................................. 4
11
12    In re Cathode Ray Tube (CRT) Antitrust Litig.,
          308 F.R.D. 606 (N.D. Cal. 2015) .............................................................................. 4
13
      Charlebois v. Angels Baseball, LP,
14
        No. SACV 10-0853 DOC ANX, 2011 WL 2610122 (C.D. Cal. June
15      30, 2011) .................................................................................................................... 5
16    Civil Rights Educ. & Enf’t Ctr. v. Hosp. Props. Trust,
17       317 F.R.D. 91 (N.D. Cal. 2016), aff’d, 867 F.3d 1093 (9th Cir. 2017) .................... 4

18    Comcast Corp. v. Behrend,
        569 U.S. 27 (2013)..................................................................................................... 3
19
20    Franco-Gonzales v. Napolitano,
         No. CV 10-02211 DMG, 2011 WL 11705815 (C.D. Cal. Nov. 21,
21       2011) .......................................................................................................................... 4
22
      Gen. Tel. Co. of Sw. v. Falcon,
23      457 U.S. 147 (1982)................................................................................................. 10
24    Hanlon v. Chrysler Corp.,
25      150 F.3d 1011 (9th Cir. 1998) ............................................................................. 9, 10

26    Hanon v. Dataproducts Corp.,
        976 F.2d 497 (9th Cir. 1992) ..................................................................................... 9
27
28                                                                     iv
                                       PETITIONERS’ MOTION FOR CLASS CERTIFICATION

      232751507
Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 5 of 23 Page ID #:2406



  1   Hernandez v. Lynch,
        No. CV-16-00620-JGB(KKx), 2016 WL 7116611 (C.D. Cal. Nov. 10,
  2
        2016), aff’d sub nom. Hernandez v. Sessions, 872 F.3d 976 (9th Cir.
  3     2017) .............................................................................................................. 6, 13, 14
  4   Inland Empire-Immigrant Youth Collective v. Nielsen,
  5      No. CV-17-2048, 2018 WL 1061408 (C.D. Cal. Feb. 26, 2018) .............. 6, 8, 13, 14

  6   Int’l Molders’ & Allied Workers’ Local Union No. 164 v. Nelson,
          102 F.R.D. 457 (N.D. Cal. 1983) .............................................................................. 6
  7
  8   Lyon v. U.S. Immigration & Customs Enf’t,
         308 F.R.D. 203 (N.D. Cal. 2015) ............................................................................ 13
  9
      Marilley v. Bonham,
10
        No. C-11-02418-DMR, 2012 WL 851182 (N.D. Cal. Mar. 13, 2012) ..................... 4
11
      Meyer v. Portfolio Recovery Assocs., LLC,
12      707 F.3d 1036 (9th Cir. 2012) ................................................................................... 5
13
      Ms. L. v. U.S. Immigration & Customs Enforcement, et al.,
14      No. 3:18-cv-00428-DMS-MDD, slip op. (S.D. Cal. filed June 26,
        2018) .................................................................................................................... 6, 14
15
16    Parsons v. Ryan,
        754 F.3d 657 (9th Cir. 2014) ......................................................................... 9, 13, 14
17
      Perez-Olano v. Gonzalez,
18
         248 F.R.D. 248 (C.D. Cal. 2008)......................................................................... 8, 13
19
      Preap v. Johnson,
20       303 F.R.D. 566 (N.D. Cal. 2014), aff’d, 831 F.3d 1193 (9th Cir. 2016) ................ 13
21
      Rodriguez v. Hayes,
22      591 F.3d 1105 (9th Cir. 2010) ................................................................................. 13
23    Smith v. Heckler,
24      595 F. Supp. 1173 (E.D. Cal. 1984) .......................................................................... 4

25    Smith v. Univ. of Wa. Law Sch.,
        2 F. Supp. 2d 1324 (W.D. Wash. 1998) .................................................................... 9
26
27    Sueoka v. United States,
         101 F. App’x 649 (9th Cir. 2004) .............................................................................. 4
28                                                  v
                                       PETITIONERS’ MOTION FOR CLASS CERTIFICATION

      232751507
Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 6 of 23 Page ID #:2407



  1   Sweet v. Pfizer,
        232 F.R.D. 360 (C.D. Cal. 2005)............................................................................... 8
  2
  3   Wal-Mart Stores, Inc. v. Dukes,
        564 U.S. 338 (2011)................................................................................................... 6
  4
      Walters v. Reno,
  5
        145 F.3d 1032 (9th Cir. 1998) ............................................................................. 6, 13
  6
      Zadvydas v. Davis,
  7     533 U.S. 678 (2001)................................................................................................... 8
  8
      Statutes
  9
      8 U.S.C. § 1231 ............................................................................................................... 8
10
      Other Authorities
11
12    8 C.F.R. § 241.13 ............................................................................................................ 7

13    7A Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal
        Practice & Procedure § 1764 (3d ed. 2005) ....................................................... 9, 12
14
15    Fed. R. Civ. P. 23(a) .............................................................................................. passim

16    Fed. R. Civ. P. 23(b) .............................................................................................. passim
17    Fed. R. Civ. P. 23(g) ..................................................................................................... 14
18
19
20
21
22
23
24
25
26
27
28                                                                   vi
                                      PETITIONERS’ MOTION FOR CLASS CERTIFICATION

      232751507
Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 7 of 23 Page ID #:2408



  1     NOTICE OF MOTION AND MOTION FOR ORDER CERTIFYING CLASS
  2               TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  3               PLEASE TAKE NOTICE THAT on August 13, 2018 at 1:30 p.m., or as soon
  4   thereafter this matter may be heard, before the Honorable Cormac J. Carney, in
  5   Courtroom 9B, 9th Floor, of the United States District Court for the Central District

  6   of California, located at 411 W. Fourth St., Santa Ana, CA, 92701, Petitioners Nak

  7   Kim Chhoeun and Mony Neth (“Petitioners”) will and hereby move, pursuant to

  8   Federal Rule of Civil Procedure 23, for an order certifying the following proposed

  9   Class, appointing each of them as class representatives, and appointing their

10    undersigned counsel as class counsel:

11                All Cambodian nationals in the United States who received final
                  orders of deportation or removal, and were subsequently released
12                from ICE custody, and have been or may be re-detained for removal
                  by ICE (the “Class”).
13
14                This Motion is based upon this Notice of Motion and Motion, the following
15    Memorandum of Points and Authorities; the supporting Declarations of Nak Kim
16    Chhoeun, Mony Neth, Boroeun Chhin, Jingni Zhao, Laboni Hoq, Lee Gelernt, and
17    Michael L. Mallow; the pleadings, declarations, and filings in this action; any
18    additional matter of which the Court may take judicial notice; and such further
19    evidence or argument as may be presented before or at the hearing on this Motion.
20                This motion is made following the conference of counsel pursuant to L.R. 7-3
21    which took place on June 22, 2018.
22    Date: July 2, 2018                              Respectfully submitted,
23
                                                       /s/ Jingni Zhao
24                                                     Jingni (Jenny) Zhao
                                                       Anoop Prasad
25                                                     Kevin Chun Hoi Lo
                                                       Melanie Chun-Yu Kim
26                                                     Winifred Kao
                                                       ASIAN AMERICANS ADVANCING
27                                                     JUSTICE –
                                                       ASIAN LAW CAUCUS
28                                                   vii
                                 PETITIONERS’ MOTION FOR CLASS CERTIFICATION

      232751507
Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 8 of 23 Page ID #:2409



  1
                                                /s/ Laboni Hoq
  2                                             Laboni Hoq
                                                Nicole Gon Ochi
  3                                             Christopher Lapinig
                                                ASIAN AMERICANS ADVANCING
  4                                             JUSTICE – LOS ANGELES
  5                                            /s/ Darlene Cho
                                               Michael L. Mallow
  6                                            Sean A. Commons
                                               Darlene Cho
  7                                            Naomi Igra
                                               Angela C. Makabali
  8                                            Katelyn Rowe
                                               SIDLEY AUSTIN LLP
  9
                                               /s/ Lee Gelernt
10                                             Lee Gelernt
                                               Judy Rabinovitz
11                                             Anand Balakrishnan
                                               ACLU FOUNDATION IMMIGRANTS’
12                                             RIGHTS PROJECT

13                                             Attorneys for Petitioners

14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                           viii
                          PETITIONERS’ MOTION FOR CLASS CERTIFICATION

      232751507
Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 9 of 23 Page ID #:2410



  1                       MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.          INTRODUCTION
  3               There are approximately 1,900 Cambodian refugees living in the United States
  4   with final orders of removal. Last fall, approximately 100 of them were torn from
  5   their communities without warning. They were shipped to detention facilities, often
  6   thousands of miles from home, and threatened with removal to a country their
  7   families fled decades ago.
  8               The Court acted swiftly to grant the individuals re-detained in the fall 2017
  9   raids a brief time window in which to seek legal advice and immigration remedies. In
10    doing so, the Court has already granted uniform relief to what is, in essence, a Rule
11    23(b)(2) class created by the Government’s uniform conduct. The Court also ordered
12    named Petitioner Nak Kim Chhoeun’s release from detention, employing reasoning
13    that applies with equal force to other Cambodian refugees re-detained without notice.
14                The Court’s rulings, however, have not deterred the Government from its class-
15    wide course of conduct. The Government continues to re-detain Cambodian refugees
16    without notice and without affording them individualized consideration, an
17    opportunity to pursue immigration relief, or an opportunity to wrap up their affairs
18    after having spent most of their lives the United States. Accordingly, named
19    Petitioners Nak Kim Chhoeun and Mony Neth now seek to certify a class of
20    Cambodians with final removal orders who are subject to the Government’s unlawful
21    uniform re-detention practices. As detailed herein, Petitioners satisfy the Rule 23(a)
22    requirements of numerosity, commonality, typicality, and adequacy, and the proposed
23    class constitutes a quintessential Rule 23(b)(2) class.
24    II.         BACKGROUND
25                Named Petitioners Nak Kim Chhoeun and Mony Neth were among

26    approximately 100 Cambodian refugees who were abruptly re-detained by the

27    Government last fall. All had been ordered removed and subsequently released

28                                                     1
                                  PETITIONERS’ MOTION FOR CLASS CERTIFICATION

      232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 10 of 23 Page ID
                                  #:2411


1    because Cambodia would not accept their repatriation. After already having been
2    detained and released to live in their communities on orders of supervision, they were
3    re-detained without notice at their homes or workplaces or at appointments with ICE.
4                The Court has issued four significant rulings thus far in the case. First, on
5    December 14, 2017 and January 25, 2018, the Court entered orders briefly staying

6    removal so that individuals faced with sudden deportation could have an opportunity

7    to consult with counsel and pursue motions to reopen. Dkts. 32 at 2, 75 at 2. The stay

8    expired on February 5, 2018, except for individuals who filed motions to reopen by

9    that date, who remain protected by the stay while they litigate those motions.

10               Second, on March 26, 2018, the Court denied Respondents’ first motion to

11   dismiss and granted Petitioner Chhoeun’s immediate release from custody. Dkt. 104,

12   MTD Order at 2-3, 15. The Court found the Government’s practice of “abrupt[ly]

13   arrest[ing] and det[aining] . . . without notice” or opportunity to challenge stale

14   removal orders violates and is “repugnant to due process.” Id. at 15.

15               Third, the Court issued an Order to Show Cause on March 26, 2018 that

16   proposed certifying a class not defined in Petitioners’ complaint and releasing all class

17   members from detention. The Court discharged the OSC on April 12, 2018 solely

18   based on lack of evidence of numerosity as to the class proposed in the OSC.

19               Fourth, on June 4, 2018, the Court denied Respondents’ second motion to

20   dismiss. Dkt. 131. The Court rejected Respondents’ argument that the case was moot

21   because both named Petitioners had been released from detention such that Petitioners

22   were “no longer entitled to pursue class certification.” The Court noted that it “has yet

23   to resolve whether Petitioners’ proposed class can be certified” and gave Petitioners

24   until July 2, 2018 to move for class certification.

25               Petitioners now request certification of the following class encompassed in the
     First Amended Complaint:
26
27
28                                                     2
                                 PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 11 of 23 Page ID
                                  #:2412


1                All Cambodian nationals in the United States who received final
                 orders of deportation or removal, and were subsequently released
2                from ICE custody, and have been or may be re-detained for removal
                 by ICE (the “Class”).
3
4                Certifying the Class will allow the Court to redress the Government’s unlawful
5    re-detention practices, which the Government continues to apply to members of the
6    Class (“Class Members”). Dkt. 127-1, Lo Decl.; Declaration of Boroeun Chhin
7    (“Chhin Decl.”) ¶¶ 6, 9 (Borinn Ry was arrested by ICE on April 2, 2018, and
8    remains detained despite granting of motion to reopen).
9    III.        PETITIONERS SATISFY THE STANDARDS FOR CLASS
10               CERTIFICATION UNDER FED. R. CIV. P 23(a) AND 23(b)(2)

11               Under Rule 23(a), parties seeking class action status must show that (1) “the
12   class is so numerous that joinder of all members is impracticable”; (2) “there are
13   questions of law or fact common to the class”; (3) “the claims or defenses of the
14   representative parties are typical of the claims or defenses of the class”; and (4) “the
15   representative parties will fairly and adequately protect the interests of the class.” Fed.
16   R. Civ. P. 23(a)(1)–(4).
17               Once the elements of Rule 23(a) are established, Petitioners must also show
18   that the proposed class falls within one of the class types identified in Rule 23(b). Fed.
19   R. Civ. P. 23(b); Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013). Here,
20   Petitioners seek the certification of the Class under Rule 23(b)(2) on the ground that
21   Respondents have “acted or refused to act on grounds that apply generally to the class,
22   so that final injunctive relief or corresponding declaratory relief is appropriate
23   respecting the class as a whole.”
24               The decision to grant or deny class certification is within the trial court's
25   discretion. Bateman v. Am. Multi-Cinema, Inc., 623 F.3d 708, 712 (9th Cir. 2010)
26   (citing Yamamoto v. Omiya, 564 F.2d 1319, 1325 (9th Cir. 1977)).
27
28                                                     3
                                 PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 12 of 23 Page ID
                                  #:2413


1                A.    The Requirements of Rule 23(a) Are Satisfied.
2                      1.     The Class is So Numerous that Joinder is Impracticable.

3                With a class size of approximately 1,900 dispersed people, Petitioners easily

4    meet Rule 23(a)(1)’s requirement that the proposed class be “so numerous that

5    joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). No precise number

6    of potential class members is required to satisfy the numerosity requirement. In re

7    Cathode Ray Tube (CRT) Antitrust Litig., 308 F.R.D. 606, 613 (N.D. Cal. 2015)

8    (citing Bates v. United Parcel Service, 204 F.R.D. 440, 444 (N.D. Cal. 2001)).

9    Nonetheless, courts have found “that classes with as few as 39 members [meet] the
     numerosity requirement[.]” Franco-Gonzales v. Napolitano, No. CV 10-02211 DMG,
10
     2011 WL 11705815, at *6 (C.D. Cal. Nov. 21, 2011) (citations omitted). “Where the
11
     exact size of the class is unknown but general knowledge and common sense indicate
12
     that it is large, the numerosity requirement is satisfied.” Id. at *9 (quoting 1 Robert
13
     Newberg, Newberg on Class Actions, § 3:3 (4th ed. 2002)).
14
                 Indeed, in injunctive relief-only cases, “[j]oinder in the class of persons who
15
     may be injured in the future has been held impracticable, without regard to the
16
     number of persons already injured.” Smith v. Heckler, 595 F. Supp. 1173, 1186 (E.D.
17
     Cal. 1984); Sueoka v. United States, 101 F. App’x 649, 653 (9th Cir. 2004) (“the
18
     numerosity requirement is relaxed and plaintiffs may rely on [ ] reasonable
19
     inference[s] . . . that the number of unknown and future members . . . is sufficient to
20
     make joinder impracticable.”); Civil Rights Educ. & Enf’t Ctr. v. Hosp. Props. Trust,
21
     317 F.R.D. 91, 100 (N.D. Cal. 2016), aff’d, 867 F.3d 1093 (9th Cir. 2017); see also
22
     Bates v. United Parcel Serv., 204 F.R.D. 440, 444 (N.D. Cal. 2001) (finding joinder
23
     would be impracticable where proposed class and subclass included then-unknown
24
     class members). In evaluating impracticability of joinder, a court may also consider
25
     the geographical distribution of the class members and whether class members are
26
     difficult to identify. See Marilley v. Bonham, No. C-11-02418-DMR, 2012 WL
27
28                                                    4
                                 PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 13 of 23 Page ID
                                  #:2414


1    851182, at *3 (N.D. Cal. Mar. 13, 2012) (citing Haley v. Medtronic, Inc., 169 F.R.D.
2    643, 648 (C.D. Cal. 1996)).
3                Petitioners seek relief on behalf of approximately 1,900 Cambodian nationals
4    in the United States who received final orders of deportation or removal, and were
5    subsequently released from ICE custody, and who have been or may be re-detained

6    for removal by ICE. Dkt. 27, FAC ¶¶ 4, 48; Dkt. 60-1, Declaration of John A. Schultz

7    (“Schultz Decl. II”) ¶ 7. In October 2017 alone, ICE revoked the release of no fewer

8    than 89 Class Members, presumably pursuant to ICE’s claimed practice of “generally

9    present[ing] 50 to 100 Cambodian nationals for identity verification at a time.” See id.

10   ¶¶ 9, 15. Thus, while there is no specific minimum number of plaintiffs required to

11   obtain class certification, the proposed Class easily satisfies the minimum number of

12   40 individuals that courts have found to be sufficiently numerous. See Charlebois v.

13   Angels Baseball, LP, No. SACV 10-0853 DOC ANX, 2011 WL 2610122, at *4 (C.D.

14   Cal. June 30, 2011) (numerosity requirement is generally satisfied when the class is

15   in excess of forty members).

16               Furthermore, the 1,900 Class Members are geographically dispersed, also

17   establishing the impracticability of joinder. See, e.g., Dkt. 28-12, Declaration of

18   Anoop Prasad (“Prasad Decl.”) ¶¶ 7, 13.

19                     2.     Class Members Share Common Questions of Law and Fact.

20               Petitioners also satisfy Rule 23(a)(2)’s requirement that the case poses

21   “questions of law or fact common to the class,” Fed. R. Civ. P. 23(a)(2), given the

22   numerous common questions at issue here. “[A] single significant question of law or

23   fact” is sufficient to satisfy the commonality inquiry. Abdullah v. U.S. Sec. Assocs.,

24   Inc., 731 F.3d 952, 957 (9th Cir. 2013) (quoting Mazza v. Am. Honda Motor Co., 666

25   F.3d 581, 589 (9th Cir. 2012)); see also Meyer v. Portfolio Recovery Assocs., LLC,
     707 F.3d 1036, 1041-42 (9th Cir. 2012). The common question must have the
26
     capacity “to generate common answers apt to drive the resolution of the litigation.”
27
28                                                    5
                                 PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 14 of 23 Page ID
                                  #:2415


1    Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011) (quoting Richard A.
2    Nagareda, Class Certification in the Age of Aggregate Proof, 84 N.Y.U. L. Rev. 97,
3    132 (2009)) (emphasis in original).
4                Where, as here, the class has been created by Respondents’ uniform conduct,
5    commonality under Rule 23(a)(2) is satisfied. See Int’l Molders’ & Allied Workers’

6    Local Union No. 164 v. Nelson, 102 F.R.D. 457, 462-63 (N.D. Cal. 1983) (finding

7    Rule 23(a)(2) commonality satisfied where plaintiffs alleged that defendants engaged

8    in a systematic and uniform practice of conducting workplace raids and that these

9    practices were the cause of the deprivation of constitutional rights suffered by the

10   proposed plaintiff class); see also Walters v. Reno, 145 F.3d 1032, 1045-46 (9th Cir.

11   1998) (finding commonality in case challenging notices of deportation proceedings);

12   Ms. L. v. U.S. Immigration & Customs Enforcement, et al., No. 3:18-cv-00428-DMS-

13   MDD, slip op. at 12 (S.D. Cal. filed June 26, 2018) (commonality satisfied where

14   plaintiffs raised at least one legal question, i.e., whether ICE’s practice of separating

15   parents and children without a showing the parent was unfit or presented a danger to

16   the child violated due process);1 Inland Empire-Immigrant Youth Collective v.

17   Nielsen, No. CV-17-2048 PSG(SHKx), 2018 WL 1061408, at *9 (C.D. Cal. Feb. 26,

18   2018) (finding commonality requirement satisfied in case challenging termination of

19   immigration benefit without notice or an opportunity to be heard despite factual

20   differences among plaintiffs); Hernandez v. Lynch, No. CV-16-00620-JGB(KKx),

21   2016 WL 7116611, at *17 (C.D. Cal. Nov. 10, 2016) (finding that class of detained

22   immigrants subjected to same bond determination policies and practices satisfied

23   commonality requirement), aff’d sub nom. Hernandez v. Sessions, 872 F.3d 976 (9th

24   Cir. 2017).

25
     1
26    For the Court’s convenience, and because the decision was not available on Westlaw
     at the time of filing, a copy of the Order Granting in Part Plaintiffs’ Motion for Class
27   Certification in Ms. L. v. U.S. Immigration & Customs Enforcement, et al. is attached
     hereto as Exhibit A.
28                                               6
                                PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 15 of 23 Page ID
                                  #:2416


1                There is no question that the Government acts uniformly with respect to
2    Cambodian refugees on orders of supervision. The Government has acknowledged as
3    much. In response to the OSC, the Government conceded that it has “acted on
4    grounds that apply generally to the class” proposed there. The Government has
5    consistently taken the position that it has unfettered discretion to re-detain Class

6    Members. Dkt. 89 at 16 (“the Due Process Clause did not require that Petitioners

7    receive any process before ICE revoked their release”); Dkt. 115 at 31 (“Due process

8    did not, and does not, demand that the Government consider whether the putative

9    class members pose a danger to the community or a flight risk.”). And the

10   Government has consistently described Class Members as fungible and

11   indistinguishable removable aliens. See 1/25/18 Hrg. Tr. at 24:14-19, 25:5-102; Dkt.

12   92-23, Lo Decl. Ex. A (discussing the Government’s desire to “reduc[e] the backlog

13   of 1,943 final order Cambodian nationals”).

14               The Court has summarized the Government’s position as follows: “once an

15   individual is subject to an order of removal, the Government may detain and deport

16   that individual without any process—regardless of the passage of time since the order

17   was issued, the individual’s ties to the community, and the significant liberty interests

18   at issue.” MTD Order at 14. This general policy gives rise to Class Members’ claims,

19   which raise three sets of common legal and factual questions.

20               The primary question in this case concerns (1) whether the Constitution and

21   8 C.F.R. § 241.13 require that Class Members who face re-detention be afforded

22   meaningful notice and an opportunity to be heard as to why they should not be re-

23
     2
24     The Government described the wholesale roundup of Class Members as follows:
     “Over those years, the number of [Cambodian] aliens with removal orders has
25   accumulated much faster than the time that the two countries have been able to
     negotiate these regular visits by Cambodian officials to interview them . . . However,
26   to the point we are today, there is no gap time, there is no warning simply because
     [Section] 1231 requires detention, and it requires the government to take them . . . and
27   once the government has to detain them to execute the removal order, that needs to be
     a fast process.” 1/25/18 Hrg. Tr. 25:5-10.
28                                                7
                                PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 16 of 23 Page ID
                                  #:2417


1    detained, and whether the Government has provided the required notice and
2    opportunity to be heard prior to re-detention.
3                The second set of questions centers around the proof of the likelihood of
4    removal that is required for the Government to re-detain Class Members, who were
5    all previously detained for prolonged periods of time while the Government

6    attempted unsuccessfully to carry out removal to Cambodia:

7                (1) Whether Zadvydas v. Davis, 533 U.S. 678 (2001), 8 U.S.C. § 1231, and the
                 Constitution require individualized evidence that removal is significantly likely
8                in the reasonably foreseeable future before the Government may re-detain
9                Class Members.

10               (2) Whether, under Zadyvdas, 8 U.S.C. § 1231, and the Constitution, the
                 Government is entitled to a six-month presumption of reasonableness each time
11               it re-detains Class Members.
12
                 The third set of questions centers around the procedural protections that must
13
     accompany the re-detention and attempted removal of Class Members, who have all
14
     returned to their families and communities on orders of supervision:
15
                 (1) Whether the Government has afforded Class Members meaningful notice
16               and an opportunity to be heard upon re-detention.
17               (2) Whether Class Members are entitled to an individualized determination by
18               a neutral decision-maker promptly upon being re-detained regarding whether a
                 Class Member poses a danger to the public or a risk of flight.
19
20               Answers to these common questions will drive the resolution of the case. And

21   any one of these common questions, standing alone, is enough to satisfy Rule

22   23(a)(2)’s standard. Nielsen, 2018 WL 1061408 at *8 (citing Wal-Mart, 564 U.S. at

23   359) (“[E]ven a single [common] question will do.”); Abdullah, 731 F.3d at 957;

24   Perez-Olano v. Gonzalez, 248 F.R.D. 248, 257 (C.D. Cal. 2008) (“Courts have found

25   that a single common issue of law or fact is sufficient[.]”) (citation omitted); see also
     Sweet v. Pfizer, 232 F.R.D. 360, 367 (C.D. Cal. 2005) (“[T]here must only be one
26
     single issue common to the proposed class”) (quotation and citation omitted).
27
28                                                    8
                                PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 17 of 23 Page ID
                                  #:2418


1                      3.    The Named Representatives’ Claims Are Typical of the Class.
2                Petitioners also satisfy Rule 23(a)(3) because the claims of named Petitioners

3    Nak Kim Chhoeun and Mony Neth are “typical of the claims or defenses of the class.”

4    Typicality and commonality requirements “occasionally merge,” Parsons v. Ryan,

5    754 F.3d 657, 685 (9th Cir. 2014) (citing Wal-Mart, 131 S. Ct. at 2551 n.5), but

6    typicality aims to assure “the interest of the named representative aligns with the

7    interests of the class.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir.

8    1992) (citation omitted).

9                The typicality test asks “whether other members have the same or similar
     injury, whether the action is based on conduct which is not unique to the named
10
     plaintiffs, and whether other class members have been injured by the same course of
11
     conduct.” Parsons, 754 F.3d at 675 (citation and internal quotation marks omitted).
12
     This test “turns on the defendant’s actions toward the plaintiff class, not
13
     particularized defenses against individual class members.” Smith v. Univ. of Wa. Law
14
     Sch., 2 F. Supp. 2d 1324, 1342 (W.D. Wash. 1998) (citation and internal quotation
15
     marks omitted). “Under the rule’s permissive standards, representative claims are
16
     ‘typical’ if they are reasonably co-extensive with those of absent class members; they
17
     need not be substantially identical.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020
18
     (9th Cir. 1998); see also 7A Charles Alan Wright, Arthur R. Miller & Mary Kay
19
     Kane, Federal Practice & Procedure § 1764 (3d ed. 2005) (“[T]ypical claims need
20
     not be identical to one another; something less restrictive is appropriate to satisfy
21
     Rule 23(a)(3).”).
22
                 Because named Petitioners share relevant common factual and legal issues with
23
     the Class Members, they also satisfy typicality. The Government policies that
24
     resulted in the unlawful re-detentions of the named Petitioners also apply to the
25
     unnamed Class Members – the “approximately 1,900 Cambodians with final removal
26
     orders in the United States.” 1/11/18 Schultz Decl. ¶¶ 7-11. These policies resulted in
27
28                                                   9
                                PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 18 of 23 Page ID
                                  #:2419


1    the re-detention of no fewer than 89 Class Members without adequate notice or
2    individualized consideration. See id. ¶ 15 (“ICE also revoked the release of 89
3    individuals with final removal orders, including Petitioners Nak Kim Chhoeun and
4    Mony Neth . . . .”); see also Dkt. 92-01, Declaration of Boonmi Boonmy (“Boonmy
5    Decl.”) ¶¶ 8-13; Dkt. 92-27, Declaration of Phann Pheach (“Pheach Decl.”) ¶¶ 7-13;

6    Dkt. 92-29, Declaration of Phorn Tem (“Tem Decl.”) ¶¶ 8-13; Dkt. 92-05,

7    Declaration of Sok Chhay (“Chhay Decl.”) ¶¶ 13-17; Dkt. 92-28, Decl. of Reas Rong

8    (“Rong Decl.”) ¶¶ 4-5, 8-12; Dkt. 28-2, 12/12/17 Chhoeun Decl. ¶¶ 8, 13-19; Dkt. 28-

9    8, Declaration of Rottanak Kong (“Kong Decl.”) ¶¶ 6-11; Dkt. 28-09, Declaration of

10   Mony Neth (“12/12/17 Neth Decl.”), ¶¶ 5-11.

11               Furthermore, Petitioners’ interests clearly align with those of unnamed Class

12   Members, including an interest in this Court’s determination of whether ICE can re-

13   detain Class Members without notice and an opportunity to be heard, as well as

14   whether Class Members are entitled to a prompt hearing before a neutral decision-

15   maker as to whether Class Members pose a danger to the public or a risk of flight.

16   Accordingly, Rule 23(a)(3) is satisfied.

17                     4.     The Class Representatives Will Fairly and Adequately
                              Represent The Interests of the Class.
18
19               Rule 23(a)(4) requires that “the representative parties will fairly and adequately

20   protect the interests of the class,” which is also met here. Fed. R. Civ. Pro. 23(a)(4).

21   Commonality and typicality concerns also relate to the assessment of a

22   representative’s adequacy. See Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157 n.

23   13 (1982). The adequacy inquiry asks: “(1) do the named plaintiffs and their counsel

24   have any conflicts of interest with other class members and (2) will the named

25   plaintiffs and their counsel prosecute the action vigorously on behalf of the class?”
     Hanlon, 150 F.3d at 1020 (citation omitted). Both requirements are plainly satisfied
26
     here.
27
28                                                   10
                                 PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 19 of 23 Page ID
                                  #:2420


1                The named Petitioners have substantial common interests with the unnamed
2    class members. Named Petitioners, like unnamed Class Members, were unlawfully
3    detained without individualized evidence that removal was reasonably foreseeable
4    and without individualized consideration of the need for detention. See, e.g., 12/12/17
5    Neth Decl., ¶¶ 7-12; 12/12/17 Chhoeun Decl. ¶ 13-18; Dkt. 92-31, Supplemental

6    Declaration of Sareang Ye (“Supp. Ye Decl.”) ¶¶ 2-3; Tem Decl. ¶¶ 7-9; Rong Decl.

7    ¶¶ 8-10; Dkt. 60-10, Declaration of Lisa Kum (“Kum Decl.”) ¶ 4; Dkt. 62-13,

8    Declaration of Pisith Phlek (“Phlek Decl.”) ¶¶ 11-14; 1/25/18 Hrg. Tr. 26:10-14

9    (“They take them into detention so they can have access for the interview. And then

10   they’re interviewed by the officials . . . and then it’s a process. In the meantime, they

11   stay in detention until they’re removed.”).

12               As a result of their common treatment by ICE, named Petitioners share the

13   interest of all Class Members in minimizing detention, and they do not have interests

14   that are antagonistic to the Class they would represent. See Declaration of Nak Kim

15   Chhoeun (“Chhoeun Class Cert. Decl.”) ¶¶ 3-8; Declaration of Mony Neth (“Neth

16   Class Cert. Decl.”) ¶¶ 7-12. The relief they seek is uniform and would give all Class

17   Members a meaningful opportunity to challenge their detention and removal. There

18   are no conflicts of interest between the named Petitioners and other Class Members.

19   Chhoeun Class Cert. Decl. ¶¶ 9-10; Neth Class Cert. Decl. ¶¶ 13-14.

20               Furthermore, counsel is well qualified, bring broad and deep expertise, and will

21   zealously prosecute this case. Asian Americans Advancing Justice – Asian Law

22   Caucus (“ALC”) is the nation’s first legal and civil rights organization serving low-

23   income Asian Pacific American communities and has done so for almost 50 years.

24   See Declaration of Jingni Zhao ¶ 3. ALC’s Immigrant Rights program is at the

25   forefront of providing legal services to hundreds of immigrants facing deportation
     due to criminal convictions. Id. Asian Americans Advancing Justice –Los Angeles
26
     (“Advancing Justice - LA”) is the nation’s largest legal and civil rights organization
27
28                                                  11
                                PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 20 of 23 Page ID
                                  #:2421


1    for Asian Americans, Native Hawaiians, and Pacific Islanders. Declaration of Laboni
2    Hoq ¶ 3. Advancing Justice - LA’s robust Impact Litigation and Immigration Project
3    teams have extensive experience advocating for immigrants’ rights in class and
4    individual contexts, especially in this District. Id. The ACLU’s Immigrant Rights
5    Project (“IRP”) is the nation’s leading litigation group addressing immigrants’ rights,

6    and its lawyers are frequently designated class counsel in federal court.3 See

7    Declaration of Lee Gelernt ¶¶ 3, 5-6. Sidley Austin LLP is one of the country’s

8    leading law firms, with over 2,000 lawyers and paralegals worldwide, a global

9    reputation for excellence, and frequent experience with federal class actions.4 See

10   Declaration of Michael Mallow ¶¶ 3-5 & Ex. A thereto. The individual attorneys

11   affiliated with these organizations bring decades of experience handling immigration,

12   habeas, civil rights, and class action cases, and this Court has already observed their

13   zealous representation.5

14               B.    Respondents’ Uniform Conduct Justifies Classwide Injunctive and
                       Declaratory Relief Under Rule 23(b)(2).
15
16               Petitioners seek certification under Rule 23(b)(2), which authorizes class

17   actions if “the party opposing the class has acted or refused to act on grounds that

18   apply generally to the class, so that final injunctive relief or corresponding

19   declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.

20   23(b)(2). “Rule 23(b)(2) class actions are particularly effective in civil rights cases

21   because these cases often involve classes which are difficult to enumerate but which

22   involve allegations that a defendant’s conduct affected all class members in the same

23   way.” Rubenstein, Newberg on Class Actions § 4:40 (5th ed.). Indeed, subdivision

24
     3
25     See generally https://www.aclu.org/issues/immigrants-rights.
     4
       See generally https://www.sidley.com/en/us/services/.
26   5
       See also Resumés of Jenny Zhao, https://www.advancingjustice-alc.org/who-we-
27   are/our-staff/, Laboni Hoq, https://advancingjustice-la.org/who-we-are/litigation-
     director, and Lee Gelernt, https://www.aclu.org/bio/lee-gelernt.
28                                              12
                                PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 21 of 23 Page ID
                                  #:2422


1    (b)(2) was added to Rule 23 “to make it clear that civil-rights suits for injunctive or
2    declaratory relief can be brought as class actions.” Wright & Miller, Federal Practice
3    & Procedure § 1776; see also Walters, 145 F.3d at 1047 (“[Rule] 23(b)(2) was
4    adopted in order to permit the prosecution of civil rights actions.”).
5                In light of (b)(2)’s purpose, class certification is particularly appropriate where,

6    as here, the Class challenges a uniform Government policy that applies generally to

7    the Class and seeks prospective relief in the form of an injunction or declaratory

8    judgment such that a single remedy would provide relief for each Class Member. See

9    Preap v. Johnson, 303 F.R.D. 566, 587 (N.D. Cal. 2014) (citing, inter alia, Wal–Mart,

10   131 S. Ct. at 2557 (“Rule 23(b)(2) applies only when a single injunction or

11   declaratory judgment would provide relief to each member of the class.”)), aff'd, 831

12   F.3d 1193 (9th Cir. 2016); see also Rodriguez v. Hayes, 591 F.3d 1105, 1125-26 (9th

13   Cir. 2010) (certifying a Rule 23(b)(2) class of immigrant detainees potentially held

14   pursuant to different statutes); Nielsen, 2018 WL 1061408 at *11 (certifying a Rule

15   23(b)(2) class of removable immigrants); Hernandez, 2016 WL 7116611, at *19-20

16   (certifying class of detained immigrants challenging their detention pursuant to Rule

17   23(b)(2) and Rule 23(b)(1)(A-B)). “Identification of all class members is not

18   necessary under Rule 23(b)(2).” Perez-Olano, 248 F.R.D. at 259. Rather, applying

19   Rule 23(b)(2) “is appropriate . . . where plaintiffs bring a class action on behalf of a

20   ‘shifting population.’” Id. (citation omitted). Additionally, Rule 23(b)(2) certification

21   is appropriate to ensure that Class Members receive the process to which they are

22   entitled, even though some may not ultimately prevail in administrative proceedings.6
     6
23     Parsons, 754 F.3d at 688 (citing Rodriguez v. Hayes, 591 F.3d 1105, 1125 (9th Cir.
     2010)) (finding certification under Rule 23(b)(2) appropriate: “[w]hile each of the
24   certified ADC policies and practices may not affect every member of the proposed
     class and subclass in exactly the same way, they constitute shared grounds for all
25   inmates in the proposed class and subclass.”); Lyon v. U.S. Immigration & Customs
     Enf't, 308 F.R.D. 203, 214 (N.D. Cal. 2015) (that detention facilities had practical
26   differences did not negate the fact that Plaintiffs sought relief under Rule 23(b)(2) that
     was applicable to and appropriate for the entire class; “an order setting forth what
27   elements of telephone access are required to effectuate Plaintiffs' statutory and
     constitutional rights.”)
28                                               13
                                 PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 22 of 23 Page ID
                                  #:2423


1    See Abadia-Peixoto v. U.S. Dep't of Homeland Sec., 277 F.R.D. 572, 577 (N.D. Cal.
2    2011) (“Either the blanket policy is legally permissible under all the circumstances,
3    or it is not. That issue may be resolved on a class-wide basis without regard to the
4    specific circumstances of each class member and the particular harms he or she may
5    have suffered.”).

6                The Class that Petitioners seek to certify is a quintessential Rule 23(b)(2) class

7    that results from Respondents’ uniform policies and practices. As discussed above,

8    supra Part III.A.2, Respondents are acting on grounds generally applicable to the

9    Class. See 1/25/18 Hrg. Tr. at 24:14-19, 25:5-10. The declarations of various Class

10   Members confirm that Respondents’ practices and policies have been applied

11   uniformly to Class Members. See, e.g., Boonmy Decl.¶¶ 8-13; Pheach Decl. ¶¶ 9-12;

12   Tem Decl. ¶¶ 6-13; Chhay Decl.¶¶ 13-17; Rong Decl. ¶¶ 4-5, 8-12; Chhin Decl. ¶¶ 6-

13   7; 12/12/17 Chhoeun Decl. ¶¶ 8, 13-19; Kong Decl. ¶¶ 6-11; 12/12/17 Neth Decl.¶¶

14   5-11.

15               Because a single injunction would afford relief as to all Class Members,

16   certification under Rule 23(b)(2) is appropriate. See Parsons, 754 F.3d at 689

17   (finding declaratory and injunctive relief proper as to class where “every

18   [member] . . . is allegedly suffering the same (or at least a similar) injury and that

19   injury can be alleviated for every class member by uniform changes in . . . policy and

20   practice.”); Ms. L., slip op. at 16-17 (certifying 23(b)(2) class in civil rights action

21   challenging ICE’s practice that applied to all members of the proposed class because

22   the practice could be declared lawful or unlawful as to the class as a whole); Nielsen,

23   2018 WL 1061408, at *11; Hernandez, 2016 WL 7116611, at *19.

24               C.    This Court Should Appoint Class Counsel Pursuant To Rule 23(g).

25               As described above in Part A.4, counsel is qualified to handle class-action
     litigation and will zealously prosecute this case for the Class. This Court is familiar
26
     with counsel’s work. The litigation team includes attorneys with extensive experience
27
28                                                    14
                                 PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
 Case 8:17-cv-01898-CJC-GJS Document 139 Filed 07/02/18 Page 23 of 23 Page ID
                                  #:2424


1    in class actions, experience in immigration and habeas class actions, and expertise in
2    immigration law, habeas law, and other relevant legal issues. The litigation team has
3    already devoted substantial resources to representing the Class. Accordingly, this
4    Court should appoint Petitioners’ counsel as class counsel for any certified Class.
5    IV.         CONCLUSION
6                Petitioners respectfully request that this Court certify the Class, name the

7    Petitioners as class representatives, and appoint Petitioners’ counsel as class counsel.

8
     Date: July 2, 2018                                Respectfully submitted,
9
10                                                      /s/ Jingni Zhao
                                                        Jingni (Jenny) Zhao
11                                                      Anoop Prasad
                                                        Kevin Chun Hoi Lo
12                                                      Melanie Chun-Yu Kim
                                                        Winifred Kao
13                                                      ASIAN AMERICANS ADVANCING
                                                        JUSTICE –
14                                                      ASIAN LAW CAUCUS
15                                                      /s/ Laboni Hoq
                                                        Laboni Hoq
16                                                      Nicole Gon Ochi
                                                        Christopher Lapinig
17                                                      ASIAN AMERICANS ADVANCING
                                                        JUSTICE – LOS ANGELES
18
                                                       /s/ Darlene Cho
19                                                     Michael L. Mallow
                                                       Sean A. Commons
20                                                     Darlene Cho
                                                       Naomi Igra
21                                                     Angela C. Makabali
                                                       Katelyn Rowe
22                                                     SIDLEY AUSTIN LLP
23                                                     /s/ Lee Gelernt
                                                       Lee Gelernt
24                                                     Judy Rabinovitz
                                                       Anand Balakrishnan
25                                                     ACLU FOUNDATION IMMIGRANTS’
                                                       RIGHTS PROJECT
26
                                                       Attorneys for Petitioners
27
28                                                    15
                                 PETITIONERS’ MOTION FOR CLASS CERTIFICATION

     232751507
